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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT BERER,                     :
    Plaintiff                     :                          No. 1:21-cv-00351
                                  :
    v.                            :                          (Judge Kane)
                                  :
WELTMAN, WEINBERG & REIS, L.P.A., :
    Defendant                     :

                                              ORDER

       AND NOW, on this 24th day of June 2021, in accordance with the case management

conference held on this date, IT IS ORDERED THAT Defendant Weltman, Weinberg & Reis,

L.P.A. (“Defendant”) shall file a motion for judgment on the pleadings by July 16, 2021. IT IS

FURTHER ORDERED THAT discovery is STAYED pending resolution of Defendant’s

motion. A telephone conference will be held on August 26, 2021, at 10:00 a.m. to discuss the

status of this case. Plaintiff’s counsel shall initiate the conference call. The telephone number

for the purposes of this call is (717) 221-3990.


                                                     s/ Yvette Kane
                                                     Yvette Kane, District Judge
                                                     United States District Court
                                                     Middle District of Pennsylvania
